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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Xx
JOHN P. “JACK” FLYNN
LESLIE A. FLYNN, : Case: 1:21-cv-02587-GHW-SLC
Plaintiffs, - Hon. Sarah L. Cave
- against - : AFFIDAVIT IN SUPPORT OF
- | MOTION FOR ADMISSION PRO
CABLE NEWS NETWORK, INC., - HAC VICE
Defendant. x

I, Sam F, Cate-Gumpert, being duly sworn, hereby depose and say as follows:

1. I am an associate at the law firm of Davis Wright Tremaine LLP.

2. I submit this affidavit in support of my motion for admission to practice pro hac
vice in the above-captioned matter.

3. As shown in the Certificate of Good Standing annexed hereto, I am a member in

good standing of the Bar of the State of California.

4. There are no pending disciplinary proceedings against me in any state or federal
court.

5. I have never been convicted of a felony.

6. I have never been censured, suspended, disbarred or denied admission or
readmission by any court.

7. My Attorney Registration Number for the California State Bar is 335715.
8. Wherefore, your affiant respectfully submits that she has been permitted to appear
as counsel and advocate pro hac vice in Civil Action No. 1:21-cv-02587-GHW-SLC, for

Defendant Cable News Network, Inc.

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Dated: July 14, 2021 Respectfully submitt

By:

“Sam F. Cate-Gumpert
DAVIS WRIGHT TREMAINE LLP
865 S. Figueroa Street, Suite 2400
Los Angeles, CA 90017
Tel: (213) 633-6800
SamCateGumpert@dwt.com
Attorneys for Defendant Cable News Network, Inc.

Sworn to me this

[44h day of July, 2021
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